Case 8:06-cr-00464-MSS-TGW Document 555 Filed 06/19/09 Page 1 of 2 PageID 1786


                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 UNITED STATES OF AMERICA,


 vs.                                                   CASE NO. 8:06-CR-464-17


 TRINDADMARQUEZ HAMILTON
                                         /

                                             ORDER

        This cause comes before the Court on the sua sponte direction to address the question of
 modification of sentence, based on the retroactive application of revised cocaine base sentencing
 guidelines (Docket No. 528). The Court appointed counsel in this case and required responses
 from the United States Probation Office, the government, and the defendant through his
 appointed counsel. The Court has received and reviewed the responses (Docket Nos. 553 and
 554 and Probation’s Retroactive Crack Cocaine Amendment Eligibility Assessment). The
 government and probation agree that the defendant is not eligible for a reduction in sentence
 based on the amended guidelines. The defense argues for a reduction. The Court finds the
 responses of the government and probation persuasive and specifically incorporates them by
 reference herein. Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence, the requested
 modification was based on the retroactive application of revised cocaine base sentencing
 guidelines (Docket No. 528) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 19th day of June, 2009.
Case 8:06-cr-00464-MSS-TGW Document 555 Filed 06/19/09 Page 2 of 2 PageID 1787


 Copies furnished to: All Counsel of Record
